       FILE02D
         Case: 1:21-cv-02525 Document #: 131 Filed: 09/19/22 Page 1 of 42 PageID #:3527
                                   KG
                          IN THE UNITED STATES DISTRICT COURT
             2
          9/19/2         FOR THE NORTHERN DISTRICT OF ILLINOIS
           MAS G. BRU
                      TON RT
                          U
                                    EASTERN DIVISION
     THO      DISTRICT CO
  CLERK, U.S.
BLUDGEON RIFFOLA LTD.,
                  Plaintiff,                                           Case No. 21-cv-02525
                         v.                                         Honorable Gary Feinerman
Womens Dresses -YIISU,
              Defendant(No.121).



                                   Response to Plaintiff's Motion to Compel[127]



     In the whole lawsuit, Plaintiff only presented a screenshot of evidence showing the accused product whose ASIN is

B08XK5ZH2S. However, Plaintiff unreasonably and unequally asked me to widely disclose the information of each product

under injunction in the past few years. Nevertheless, I have diligently responded to Plaintiff’s discovery requests as to

injunction. Specifically:

     1. On August 29, 2022, I have shown the Plaintiff the sales information of accused products in the past three years,

including purchaser, product picture, shipping address, product unit price [Exhibit 1] . I have shown the total orders for

products in the past three years. Id. I presented a chart showing the relationship between the accused products and the

non-accused products. Id. I also presented many information for non-accused products to show that I was not specifically

offering accused products. Id.

     2. Futher more, on September 1, 2022, per Plaintiff’s requests, I provided supplement to response to Plaintiff’s

discovery as to injunction, Specifically, I provided a chart showing sales data generated prior to the lawsuit (From

September 1, 2020 to May 30, 2021), including ASIN, Product Title, Units Ordered, Ordered Product Sales, Total Order

Items and images [Exhibit 2]. I also explained that some description and images for products in the chart were not

presented because they were stopped offering long ago. Id. My store had been forced to stop operating for more than a year,

although some description and images for products were deleted by Amazon System, the chart can at least show that those

ASINs were not “B08XK5ZH2S” that is related to accused products. In addition, I refused to present identification card

because it concerns my privacy and it has nothing to do with the discovery request as to injunction.

     3. In fact, Plaintiff has actually known the sales information of the accused products from Amazon, such as, Plaintiff

knew the actual sales volume of the accused products were 14 and restrained amount, because the court had already

authorized the plaintiff to conduct expedited discovery, and Amazon platform had disclosed all relevant data of my store to

the Plaintiff in accordance with the court order [DKT 24. Page 4-7].



                                                              1
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     4. There is no need for plaintiff to conduct further discovery request as to injunction, because I moved to vacate

injunction for not only small accused sales of 14, but also Plaintiff’s failure to establish a likelihood of success on the merits.

Denying Plaintiff's Motion would not prejudice Plaintiff's interests, as it would not prevent Plaintiff from presenting the

reason that the injunction should remain in effect. In addition, according to the court records, the court ever also denied

Plaintiff's Motion to conduct discovery as to the defendant’s(Qiao Ba999) Motion to dissolve preliminary injunction[DKT

51] on July 20, 2021. My accused situation is almost consistent with that of Defendant QiaoBa999.



     As such, based on above, Defendant respectfully requests the court deny Plaintiff’s motion to compel and grant some

relief the court deems proper and just.



Dated: September 18, 2022.
                                                      Respectfully Submitted
                                                   /s/房红芳(Fang Hong Fang)
                                                    Email:johnseller@yeah.net;
                      Address: zone 5, one city center, Donghuan 1st Road, Longhua District, Shenzhen,China.
                                                  Phone Number:151-3558-6336
                                                          Pro Se Litigant




                                                                2
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                                Exhibit 1
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   IN THE UNITED STATES DISTRICT COURT FOR THE
      NORTHERN DISTRICT OF ILLINOIS EASTERN
                     DIVISION
  BLUDGEON RIFFOLA LTD.,
                      Plaintiff,                                   Case No. 21-cv-02525
                             v.
                                                                          Judge Gary Feinerman
                                                                Magistrate Judge Beth W. Jantz
  Womens Dresses ‐YIISU,
                 Defendant(No.121).


             DEFENDANT’S RESPONSE TO PLANITIFF’S DISCOVERY AS TO ACCUSED SALES


  The operator of store Womens Dresses ‐YIISU is Fang Hong Fang. Defendant has only
  this store and corresponding account is AGKXCV86IEF2H; Associated email addresses
  is dekanhuan55819@163.com; Corresponding domain name is
  https://www.amazon.com/sp?ie=UTF8&seller=AGKXCV86IEF2H.
  Defendant refuesd to provide identification cards because it involves personal privacy and is not
  related to the alleged product in this case. As sales data of accused products, after carefully
  resarching sales data, defendant found totally made 14 accused sales and accordingly obtained
  $321.43. The following charts show the historical order volume of the accused products in the past
  three years and the sales information of each accused product.




      Purchase date                        Shipped Address                          Buyer
     Mar 14, 2021             FERNLEY, NV 89408-7535 United States                  Trinite
     Mar 25, 2021             HAMBURG, PA 19526 United States                    STEPHEN
     Mar 25, 2021            SHREVEPORT, LA 71107-2517 United States               Crystal
     Mar 30, 2021          FREMONT, OH 43420-9381United States                      Nikki
      Apr 8, 2021          TEXARKANA, AR 71854-0709 United States                   Sher
       Apr 8, 2021           SUGAR NOTCH, PA 18706-2004 United States             Jennifer
      Apr 10, 2021                 Haughton, LA 71037 United States                 Alissa
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     Apr 11, 2021           Pleasant Hill, CA 94523           Christine
     Apr 11, 2021              Benton, ar 72015               whitney
     Apr 13, 2021          PHOENIX, AZ 85019-1844             Melissa
     Apr 16, 2021          CHICAGO, IL 60606-6771               Joey
     Apr 19, 2021          CASPER, WY 82601-1787              michelle
     Apr 22, 2021           RACINE, WI 53402-9583               Lin
     Apr 23, 2021       MOUNTAIN HOME, ID 83647-3323           jerald
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Case: 1:21-cv-02525 Document #: 131 Filed: 09/19/22 Page 7 of 42 PageID #:3533
Case: 1:21-cv-02525 Document #: 131 Filed: 09/19/22 Page 8 of 42 PageID #:3534
Case: 1:21-cv-02525 Document #: 131 Filed: 09/19/22 Page 9 of 42 PageID #:3535
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   The following chart shows at least defendant made many non-accused products in the past three
   years.




   The following chart shows the relationship between the accused products and the non-accused
   products.




   The sales for non-accused products includ but not limited to the following:

               Sku                      Description                         Image

       YQX90403684RD          Vibrador Set,Plush Suit Whip

                              Panty    Handcuffs      Vibrator

                              Bundled Binding Sex Toy Set SM

                              Game Kit,Plus-Size,Red,Dildos
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      CL80327770       Laundry Dryer Balls,Nice Hot No

                       Chemicals          Tumble            Wash

                       Washing Laundry Dryer Balls

                       Soften      Fabric      Clot,Laundry

                       Hampers,Blue2-PC,Home Decor

                       Clearance

      CL70419771       Cleaning           Supplies,Washing

                       Machine Hair Removal Device

                       Clothes     Clean      Laundry         Ball

                       Retaining              Filter,Laundry

                       Bags,Multicolor-4PC,Home

                       Decor

      CL90312762       Laundry            Dryer              Balls

                       Organic,Floating           Pet        Hair

                       Catcher Filtering Hair Removal

                       Device        Wool            Cleaning

                       Supplies,Laundry

                       Baskets,Multicolor-4PC,Home

                       Decor

      YQX90408686PP    Sm Toys Set,Soft Butt Plugs

                       Dildo Vibrator Beginner Set Sex

                       Toys        Prostate          Massage

                       7PCS,Manual                   Massage

                       Sticks,Purple,Plugs

      CL90302281DGXL   Underwear Briefs for Men,Pink

                       Heroes Fashion Printed Cotton

                       Men's Short Flat-Angled Sexy

                       Boxer Underwear,Men's Big &

                       Tall    Athletic     Underwear,Dark

                       Gray

      CL90302281SBXL   Clarayan     Mens       Panties        for

                       Sex,Pink Heroes Fashion Printed

                       Cotton Men's Short Flat-Angled

                       Sexy      Boxer     Underwear,Boys'

                       Exercise & Fitness Apparel,Sky

                       Blu

      CL90302281WHXL   Clarayan Boxer Briefs for Men

                       Pack,Pink         Heroes         Fashion

                       Printed     Cotton     Men's         Short

                       Flat-Angled          Sexy            Boxer

                       Underwear,Men's         Big      &     Tall

                       Underwear Briefs,W
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      YQX90408686PP    Sm Toys Set,Soft Butt Plugs

                       Dildo Vibrator Beginner Set Sex

                       Toys        Prostate          Massage

                       7PCS,Manual                   Massage

                       Sticks,Purple,Plugs

      YQX90401683RD    Sexy Toystory for Men Egg,Plush

                       Suit     Whip      Handcuffs      Mask

                       Vibrator Bundled Binding Sex

                       Toy Set SM Game Kit,Feminine

                       Powders,Red,Dildos

      YQX90409682J     Vibrador Set,Butt Plug Jewelry

                       Base Anal Plug Dildo Vibrator

                       Adult      Sex       Toys      Prostate

                       Massager,Yoga

                       Equipment,Multicolor,Anal          Sex

                       Toys

      RILI2021010804   Desk Calendar 2021 with Thick

                       Paper|2021 Desk Calendar 2021

                       Planner     2021        English   Mini

                       Desktop      Fresh      and   Portable

                       Pendulums Desk Calendar GN

      CLATG30118020    Easter Decorations Wreath for

                       Front Door with Easter Eggs,

                       Flowers and Berries Welcome

                       Wreath Sign for Front Door

                       Decor, Easter Flower Garland

                       Easter

      TQTQ01201300     Valentine's       Heart     Ornaments,

                       25Pcs      Valentine       Decorations

                       Heart      Ornaments          Romantic

                       Multicolor 2021

      F0-8WV9-1S1F     Push Pop Bubble Fidget Sensory

                       Toy, Autism Special Needs Stress

                       Reliever    for    Stress     Relieving

                       (Multicolor)

      CLA0111001       Valentines Day Decor | Room

                       Wall Bedroom Kitchen Home

                       Decor | 100 Lamp Beads, Led

                       Light    Belt,    Low     Temperature

                       Waterproof         Light      Belt(A,AS

                       Shown) 2021

      36-EYRW-K4SE     Push Pop Bubble Fidget Sensory

                       Toy, Autism Special Needs Stress

                       Reliever    for    Stress     Relieving
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                       (Multicolor 3PCS)

      G8-SL0B-K9VE     Push Pop Bubble Fidget Sensory

                       Toy, Autism Special Needs Stress

                       Reliever    for    Stress     Relieving

                       (Octogon Purple)

      QE-T48K-PLSK     YIISU Snow Sled Board,Sleds for

                       Kids Snow Sled for Adults Snow

                       Sled      Plastic,Outdoor       Winter

                       Plastic Skiing Boards Snow Grass

                       Sand Board Ski Pad Snowboa

      5W-0JTR-N76Q     Push Pop Bubble Fidget Sensory

                       Toy, Autism Special Needs Stress

                       Reliever    for    Stress     Relieving

                       (Octogon Orange)

      QQ210225165      Plushies|Kawaii             Plush|Plush

                       Doll|Soft Pillow Cushion for Car

                       Home Decoration Birthday Gifts

                       Cute Animal Doll Plush Stuffed

                       Plush Toy Gifts for Kids Ba

      CL90302281WHXL   Clarayan Boxer Briefs for Men

                       Pack,Pink         Heroes       Fashion

                       Printed     Cotton     Men's       Short

                       Flat-Angled          Sexy          Boxer

                       Underwear,Men's        Big     &    Tall

                       Underwear Briefs,W

      CL90302281SBXL   Clarayan     Mens      Panties       for

                       Sex,Pink Heroes Fashion Printed

                       Cotton Men's Short Flat-Angled

                       Sexy      Boxer    Underwear,Boys'

                       Exercise & Fitness Apparel,Sky

                       Blu

      CL90302281DGXL   Underwear Briefs for Men,Pink

                       Heroes Fashion Printed Cotton

                       Men's Short Flat-Angled Sexy

                       Boxer Underwear,Men's Big &

                       Tall   Athletic      Underwear,Dark

                       Gray

      CLA90305080      Swimsuits for Women Bikinis for

                       Women Women Sexy Scalloped

                       Lace-up        Ruched           Tankini

                       Swimsuit Swimsuit Beachwear

                       Black XXL
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      USQ02250002          Cake Roller Baking Mat Flexible

                           Soft Cake Stencils Roll Silicone

                           Pan Bakeware Coffee Kitchen

                           Accessories

                           &#x1D641;&#x1D656;&#x1D65

                           8;&#x1D65A;&#x1D657;

      BT-HF6H-QH7M         1PC Push Bubble Fidget Sensory

                           Toy Cool Things Party Favors

                           Autism     Special     Needs        Stress

                           Reliever (Colorful, 1pc)

      QQ210225168          Electric    Egg     Laying      Chicken

                           Plushies|Kawaii            Plush|Plush

                           Doll|Home         Decoration        Easter

                           Gifts Hen Laying Eggs Plush

                           Magic Chicken Electric Music

                           Dancing K

      KQ-LD0B-Q3TZ         Condiment         Plate      Holder,Dip

                           Clips       for        Plates         Dip

                           Bowls,Clip-on                         Dip

                           Holders,Kitchen                  Dining

                           Entertaining        Dipping         Sauce

                           Bowls,Condiments                Serving

                           Dishes fo

      DEK03130047          Tops for Women T Shirts Casual

                           Loose Short Sleeve T Shirt Tops

                           Womens        Shirts       Shirts      for

                           Women          V-Neck           Splicing

                           Sleeveless Splicing T-Shirt Tops

                           Vests T

      1030022701           Animal      Yard       Art      Critters

                           Hummingbird Welcome Sign-3D

                           Metal Wall Decor-Modern Home

                           Decoration-Indoor or Outdoor

                           Use-Wall Art Hanging Elegant

                           Garden Des

      1030022703           Hummingbird Wall Art Metal

                           Hummingbird         Outdoor         Decor

                           Elegant           Garden        Design

                           Hummingbird                Decoration

                           Garden Art Metal Birds Critters

                           Hummingbird Welcome

      DEKZSS210313421RDM   Summer Beach Dress Fashion

                           Women       Casual     Short     Sleeve

                           O-Neck Solid Ladies Loose Mini
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                               Dress     Short      Sleeve      O-Neck

                               Casual T-Shirt Loose Fit Dress

                               006 M

      P5-LB1A-NID1             6 Pairs Reusable Eyeliner Stickers

                               Reusable Eyelid Makeup Stickers

                               Instant       Outline         Sparkling

                               Eyeliner Eye Shadow Easy Quick

                               Application,No Smudge Desi

      DEK03130047              Tops for Women T Shirts Casual

                               Loose Short Sleeve T Shirt Tops

                               Womens         Shirts      Shirts     for

                               Women          V-Neck            Splicing

                               Sleeveless Splicing T-Shirt Tops

                               Vests T

      CLAYGQ210308521PKL       Womens Tops Tops for Women

      2                        2021      Summer        Shirts    Casual

                               Loose T Shirt Tops and Blouses

                               Women Short Sleeve O-Neck

                               Printed Pachwork Pockets Tops

                               BlousePink

      CLA210408QLX210331889B   YIISU   Two    Piece     Swimsuits    for

      KM                       Women High Waisted Bikini Swimsuit

                               2021 Bathing Suits for Summer Beach

                               Swimwear Bikinis 012 M

      P5-LB1A-NID1             6 Pairs Reusable Eyeliner Stickers

                               Reusable Eyelid Makeup Stickers

                               Instant       Outline         Sparkling

                               Eyeliner Eye Shadow Easy Quick

                               Application,No Smudge Desi

      CLA0409LWX21031007       Sexy    Sleeveless      Beach       Dress

      4BKL2                    Sleeve Solid Print Mini Dress

                               Womens Summer Floral Wrap V

                               Neck Casual Dresses Black XXL

      1030022701               Animal        Yard      Art      Critters

                               Hummingbird Welcome Sign-3D

                               Metal Wall Decor-Modern Home

                               Decoration-Indoor or Outdoor

                               Use-Wall Art Hanging Elegant

                               Garden Des

      DEKZSS210313421RDM       Summer Beach Dress Fashion

                               Women      Casual       Short     Sleeve

                               O-Neck Solid Ladies Loose Mini

                               Dress     Short      Sleeve      O-Neck

                               Casual T-Shirt Loose Fit Dress
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                           006 M

      P5-LB1A-NID1         6 Pairs Reusable Eyeliner Stickers

                           Reusable Eyelid Makeup Stickers

                           Instant         Outline         Sparkling

                           Eyeliner Eye Shadow Easy Quick

                           Application,No Smudge Desi

      78-GTGA-JKZS         Rainbow Projection Lamp for

                           Home          Party    Living       Room

                           Bedroom Floor Lamp Decorative

                           Sunset Projection Led Beside

                           Lamp      USB     Charge        Sunshine

                           Rainbow Project

      TQTQ01201002         Valentine's Hand Holding Kit,

                           Keepsake         Hands     Casting       Kit

                           Large     |     DIY    Plaster    Statue

                           Molding Kit Hand Holding 2021

      1030022705           Hummingbird                  Decoration

                           Garden          Art      Metal         Birds

                           Hummingbird            Art       Outdoor

                           Hummingbird              Wall       Decor

                           Critters Hummingbird Welcome

                           Sign Metal Wall Decor-Modern

      A0-2W5K-1GZ7         Gua Sha Facial Massage Tool

                           Gua Sha Stone-Premium Jade

                           for Face, Eyes Body Muscle Gua

                           Sha     Facial    Beauty        Tool     for

                           Slimming & Firming Relaxing

                           and Relie

      1030022701           Animal         Yard       Art     Critters

                           Hummingbird Welcome Sign-3D

                           Metal Wall Decor-Modern Home

                           Decoration-Indoor or Outdoor

                           Use-Wall Art Hanging Elegant

                           Garden Des

      CLA0428WCF21042260   Cold Shouder Sleeveless Tank

      9BUXL                Dress         Formal      Dresses        for

                           Wedding Guest Casual Dresses

                           for Women Blue XL

      4R-ZIGZ-L964         NEW              Chlorine              Pool

                           Tablets,Chlorine Tabs For Pool

                           Chlorine       Tablets     For    Above

                           Ground         Pools     With     Floater

                           Dispenser, Improve Water Pool

                           Quality And Flow C
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      TQDEKAN719LLY21061410   Pop   Fidget   Fidget   Toys   Set

      4F                      Sensory Fidget Toys Push It Pop

                              Fidget Bubble Pop Pop Toy in

                              Rainbow - Squishee Stress &

                              Nervousness - Squeeze Toys




                                                                      Respectfully Submitted
                                                                   /s/房红芳(Fang Hong Fang)
                                                                           Date：08/29/2022
                                                                   Email: johnseller@yeah.net
       Address:one city center, Donghuan 1st Road, Longhua District, Shenzhen,China.
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                                 Exhibit 2
       Per1:21-cv-02525
    Case:  plaintiff's request,I
                         Documenthereby provide
                                    #: 131 Filed:sales data Page
                                                  09/19/22  generated
                                                                 19 ofprior to the #:3545
                                                                       42 PageID    lawsuit
          (From September 1,2020 to May 30,2021).Some description and images for products
         were not found because they were stopped offering long ago.
                                                   Ordered Product
(Child) ASIN        Title          Units Ordered                     Total Order Items   Image
                                                        Sales
               Ramendy Push Pop
                 Bubble Fidget
                  Sensory Toy,
                 Autism Special
B08S2PC8J5                             865           $6,437.16             799
                  Needs Stress
                  Reliever for
               Stress Relieving
                  (Multicolor)
                Push Pop Bubble
                 Fidget Sensory
                   Toy, Autism
                 Special Needs
B08T97RKLB                             147           $1,719.95             135
                Stress Reliever
                   for Stress
                    Relieving
               (Multicolor 2PCS)
B08XNB3JFQ                             106           $1,385.99              96
B08S6VTS89                              59            $508.82               56
B08XK2M41W                              46            $984.02               46
                Push Pop Bubble
                 Fidget Sensory
                   Toy, Autism
                 Special Needs
B08T98W12Q                              52            $875.34               37
                Stress Reliever
                   for Stress
                    Relieving
               (Multicolor 3PCS)
               Ramendy Push Pop
                 Bubble Fidget
                  Sensory Toy,
                 Autism Special
B08S42DWH8                              20            $150.04               20
                  Needs Stress
                  Reliever for
               Stress Relieving
               (Octogon Purple)
B08X6TYMGS                              18            $132.29               18
B08XK5ZH2S                              15            $321.43               14
B08XV49PZS                              15            $199.12               14
               Ramendy Push Pop
                Bubble Fidget
                 Sensory Toy,
                Autism Special
B08S3MD47K                              13             $96.87               12
                 Needs Stress
                 Reliever for
               Stress Relieving
               (Octogon Green)
B08VWDZHBS                              12             $90.27               12
B08XN9VPLT                              12            $150.25               12
B091TB34YX                              13             $95.21               12
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B08X6BGXTX                       11      $104.17         11
B08XN8S6YR                        9      $113.06         9
B08XN8Y49C                        9      $111.08         9
             Ramendy Push Pop
              Bubble Fidget
               Sensory Toy,
              Autism Special
B08S347PTC                       9        $67.62          8
               Needs Stress
               Reliever for
             Stress Relieving
             (Octogon Orange)
             Ramendy Push Pop
              Bubble Fidget
               Sensory Toy,
              Autism Special
B08S3BJFH6                       7        $52.18          7
               Needs Stress
               Reliever for
             Stress Relieving
             (Octogon Yellow)
B08XPZLBVQ                       7       $197.10          7
B08YD24GG3                       7        $29.07          7
              Women's Floral
             Maxi Deep V Neck
             Crop Top Wide Leg
             Pants Set 2 Piece
B08Z7YG4W4                       7       $268.20          7
             Outfit Sleeveless
              Camis Tops+Long
             Pants 2 Piece Set
                 White XL
             Floral Maxi Deep
              V Neck Crop Top
                 Pants Set
             Jumpsuits 2 Piece
B08Z7Z5ZRB                       7       $238.14          7
             Outfit Sleeveless
              Camis Tops+Long
             Pants 2 Piece Set
                   WhiteL
B08T9R7CTH                       6       $363.39          6
B08W8LR1JD                       6        $70.34          6
B08W9GGLQS                       7        $82.22          6
B08XM3QJ52                       6        $90.58          6
B08XMJCVN4                       6        $60.24          6
              Women's Floral
             Maxi Deep V Neck
             Crop Top Wide Leg
                 Pants Set
B08Z837CGD                       6       $184.89          6
             Jumpsuits 2 Piece
             Outfit Sleeveless
              Camis Tops+Long
                Pants Whites
B08W9NCJWX                       6        $67.03          5
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B08Z3KQSKM                       5        $79.48          5
B08Z3PWY29                       5        $63.19          5
B08RJSX4RF                       4        $62.77          4
B08S7CCTTT                       4        $53.64          4
B08T9MKSF6                       4       $231.42          4
B08TBCSXSG                       8       $247.61          4
B08W8D6L1B                       4        $46.82          4
B08W8PCVVT                       4        $46.64          4
B08XLXP7N1                       4       $106.32          4
B08XMNBWW2                       4        $69.98          4
B08XQ14MCC                       4       $110.90          4
B08YJTGWD6                       4       $114.16          4
B08YR6MFBS                       4        $25.30          4
B08RDBQ62W                       7       $155.07          3
B08S3GM8S6                       3        $27.92          3
B08SBY3TL7                       3        $43.46          3
B08SJP3XD8                       3        $30.05          3
B08SQV8B8Y                       3        $42.36          3
B08T6GK3B4                       3        $95.24          3
B08THKTPVG                       5        $59.13          3
B08THRC2NK                       3       $158.85          3
B08V94TFQX                       3        $34.80          3
B08W8JB327                       3        $35.06          3
              Women's Floral
             Maxi Deep V Neck
               Crop Top Wide
             Pants Set 2 Piece
B08Z846L6D                       3        $55.30          3
             Outfit Sleeveless
              Camis Tops+Long
             Pants 2 Piece Set
                   WhiteM
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922P855S     Swimsuit 2021     3       $156.48          3
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   013 L
B094CZ28T6                       3        $53.70          3
B094F7RXPH                       3        $68.97          3
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              Wash Gloves for
                   Shower
             Large,Loofah Bath
               Shower Sponge
              Pouf Mesh Ball
B07QLMSKND                       3        $2.77           2
                Exfoliating
                   Premium
               Scrubber,Bath
             Products,Pink,Hom
                   e Decor
             Sm Toys Set,Soft
             Butt Plugs Dildo
             Vibrator Beginner
                Set Sex Toys
B07QT7ZH96   Prostate Massage    2        $7.19           2
                7PCS,Manual
                   Massage
             Sticks,Purple,Plu
                     gs
B08RD576RJ                       2        $70.38          2
B08RYD1N19                       3        $44.53          2
B08SBJ8FKZ                       2        $22.16          2
B08SBS3LVP                       2        $28.52          2
B08SBVJVM2                       2        $28.44          2
B08SJ7JXDK                       2        $32.21          2
B08SMC3BDX                       2        $32.42          2
             Ourmall 2021 New
              Valentines Day
             Decor | Room Wall
              Bedroom Kitchen
                Home Decor |
              Valentine's Day
B08SQ91P6Z                       2        $15.01          2
             Sticker Gift Box
                Seal Sticker
               Wedding Party
              Envelope Label
             Stick(Multicolor,
                 AS Shown)
B08SQF4TXS                       2        $17.36          2
B08SQH8BZW                       2        $14.95          2
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              Welcome Wreath
              Sign for Front
                Door Decor,
                Rustic Door
               Hangers Front
             Door with Premium
B08T8Y4M2T                       3        $33.86          2
              Greenery-Front
                Door Welcome
               Wreath Wooden
             Hanging Sign for
              Home Decoration
                 for Easter
B08T9NRYTK                       2       $131.38          2
B08TZVLPC4                       2        $47.00          2
B08V93FQHS                       2        $23.11          2
B08VHQ1KWB                       2        $65.11          2
B08VWZTWV6                       2        $21.38          2
              Beauty Clothing
               Shoes Jewelry
              Supplies Womens
             Holiday Irregular
B08WZW74TS                       2        $23.98          2
                Dress Ladies
                Summer Beach
             Sleeveless Party
               Dress Green S
B08X15B775                       2        $26.72          2
              Beauty Clothing
               Shoes Jewelry
              Supplies Womens
             Holiday Irregular
B08X1Q72ZR                       2        $27.95          2
                Dress Ladies
                Summer Beach
             Sleeveless Party
               Dress Green L
B08X4RD29K                       4        $37.00          2
B08X4SFVPS                       2        $25.82          2
B08XLF8GW1                       2        $23.55          2
B08XN5W2YP                       2        $24.70          2
B08XN87G2K                       3        $31.17          2
B08XN9X5VV                       2        $23.53          2
B08XNCZW82                       2        $22.78          2
B08Y5J2K7K                       2        $95.13          2
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               Jewelry For
                Women,Ring
               jewelry box
              white,Jewelry
              Rings Display
B08YDYLD85                       5        $21.18          2
             Tray Velvet 100
              Slot Case Box
             Jewelry Storage
             Box (White),AS
                  SHOWN)
B08YMZ6ZLW                       2        $83.30          2
B08YVKD1G5                       2        $42.80          2
B08Z3KD4GW                       2        $48.72          2
B08Z3MD3T9                       2        $50.63          2
B08Z3WQ9W5                       2        $85.53          2
B08Z7MV6QH                       2        $95.14          2
B08Z7V5DZ6                       2        $54.83          2
B08ZDBQBN5                       2        $63.15          2
B0912LF3P4                       2        $40.16          2
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922NF8T2     Swimsuit 2021     2       $100.17          2
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   014 L
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922QVVXK     Swimsuit 2021     2       $101.11          2
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   010 M
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RM39N     Swimsuit 2021     2       $101.08          2
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   012 M
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              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RWBRW     Swimsuit 2021     2       $100.56          2
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   017 L
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922SN6CZ     Swimsuit 2021     2       $100.43          2
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   015 M
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922T8PX5     Swimsuit 2021     2       $102.29          2
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   006 M
B093GR8DYY                       2        $22.61          2
               Clarayan Mens
                Panties for
              Sex,Pink Heroes
              Fashion Printed
                Cotton Men's
             Short Flat-Angled
B07PWZR5GQ                       1        $3.92           1
                 Sexy Boxer
              Underwear,Boys'
                 Exercise &
                   Fitness
                Apparel,Sky
                   Blue,XL
              Men Thongs for
             Sex Novelty,Pink
              Heroes Fashion
              Printed Cotton
B07PY6XLWM                       1        $3.69           1
             Men's Short Flat-
             Angled Sexy Boxer
             Underwear,Novelty
              Clothing,Gray,L
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                Clarayan Men
                  Underwear
             Boxer,Pink Heroes
              Fashion Printed
                Cotton Men's
             Short Flat-Angled
B07Q1FY2YQ                       1        $3.69           1
                 Sexy Boxer
               Underwear,Baby
              Boys' Bloomers,
              Diaper Covers &
             Underwear,Yellow,
                        L
               Men Underpants
              Pack,Pink Heroes
              Fashion Printed
                Cotton Men's
B07Q1GL6WD   Short Flat-Angled   1        $3.69           1
                 Sexy Boxer
              Underwear,Men's
               Underwear,Dark
                     Gray,L
              Underwear Briefs
                for Men,Pink
               Heroes Fashion
               Printed Cotton
             Men's Short Flat-
B07Q26ZLJW   Angled Sexy Boxer   1        $3.92           1
              Underwear,Men's
                 Big & Tall
                   Athletic
               Underwear,Dark
                    Gray,XL
               Clarayan Boxer
               Briefs for Men
              Pack,Pink Heroes
              Fashion Printed
                Cotton Men's
B07Q2992H6   Short Flat-Angled   1        $3.92           1
                 Sexy Boxer
              Underwear,Men's
                 Big & Tall
                  Underwear
              Briefs,White,XL
B07QL28674                       1        $0.70           1
B07QLVKMQX                       1        $0.91           1
B07QNYQ5TQ                       1        $3.20           1
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              Unisex Silicone
              Rings,Couple G-
             Spot Bullet Dildo
               Vibrator Anal
                 Butt Plug
B07QR6MWFB                       1        $0.01           1
             Massager Sex Love
              Toy 7Pcs,Sports
                 Nutrition
             Products,Blue,Tra
                 ining Sets
B07QR6QQR5                       20       $0.20           1
B07QT5SR9S                        1       $12.73          1
B07QTJVNQG                        1       $4.51           1
B08R8ZZ18L                        1       $25.97          1
B08R9NV8TH                        1       $85.00          1
B08RB5FB65                        1       $10.88          1
B08RD4CYZX                        1       $36.64          1
B08RD552KW                        1       $36.38          1
B08RDBKCFZ                        1       $22.47          1
B08RNDKYRS                        3       $48.00          1
B08RYDH9NK                        1       $17.09          1
B08RYPK2H5                        1       $26.90          1
B08RZ6MJKG                        1       $12.39          1
B08RZ7CKX2                        1       $20.89          1
B08S2R8128                        1       $44.88          1
              Clarayan Edible
                Spoon Candy
                  Mold,Hot
              Chocolate Spoon
             Mold Spoons Mold
             Silicone Mold for
B08S35651X     Hot Cocoa and     1        $8.62           1
             Coffee,Chocolate
              Stirring Spoons
              Craft Tools DIY
                   Wedding
              Valentine's Day
              Party Supplies
B08S3DVF8L                       1        $44.06          1
B08S3KR5K4                       1        $43.96          1
B08S3Y32JF                       1        $43.34          1
B08S7B6FD4                       1        $11.88          1
B08S7B97XQ                       1        $15.21          1
B08SBG4P1F                       1        $11.59          1
B08SC1QDX6                       1        $11.73          1
B08SGB88Z5                       1        $26.27          1
B08SHHT9MR                       1        $18.19          1
B08SHJ32W7                       1        $17.94          1
B08SHNQWRQ                       1        $6.87           1
B08SHNQWRQ                       1        $7.12           1
B08SHZ7MKR                       1        $16.00          1
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              Crop Tops for
             Women High Waist
               Vintage Tops
              Crewneck Shirt
              Streetwear for
             Valentine Women
B08SJ1WZTR                      1         $10.90          1
             Sexy Tops Funny
              Skull Printed
             High Waist Crop
               Short Sleeve
              Gothic Blouse
                  Black L
B08SJ5CLLN                      1         $10.80          1
B08SJK6L4Z                      1         $8.55           1
B08SJN5VSZ                      1         $15.33          1
B08SJQDSKK                      1         $15.33          1
B08SJQH64C                      1         $8.66           1
B08SM9BGWS                      1         $41.74          1
B08SM9LQFS                      1         $41.00          1
B08SM9T7MD                      1         $16.38          1
B08SM9XSCM                      1         $16.30          1
B08SMBDB44                      1         $15.89          1
B08SMBFRR7                      1         $59.78          1
B08SMCH9M1                      1         $59.78          1
B08SVVXTZR                      2         $19.60          1
B08SWB3ZSW                      5         $10.45          1
B08SWFYJ6M                      1         $13.88          1
B08T1GHMB2                      1         $79.19          1
B08T1KK1DJ                      1         $79.73          1
B08T1LCLL4                      1         $80.48          1
B08T1Q8BQ3                      1         $78.09          1
B08T1T54MG                      1         $36.80          1
B08T1VG5W3                      1         $78.09          1
B08T22Y9XR                      1         $79.73          1
B08T5J6LRG                      1         $9.53           1
B08T64WXHC                      1         $28.88          1
B08T694LGH                      1         $11.72          1
B08TBC97FR                      1         $33.79          1
B08TBF3LG2                      1         $33.59          1
B08TBFHPM7                      1         $33.44          1
B08TBHC8NN                      1         $21.03          1
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                Long Sleeve
             Shirts for Women
                  Crewneck
                 Sweatshirt
              Women's Casual
               Comfort Loose
                Fitting Long
B08TBHF9YJ                       1        $23.00          1
                Sleeve Tops
               Cotton Blouse
              Splicing Hollow
              Lace Knitted T-
             Shirt Long Sleeve
              Top Blouse Tops
                   Shirt S
B08TBTKQDR                       1        $25.99          1
                  Clarayan
             Bikini|Swimsuits
             for Women Bikinis
B08TC76LSX                       1        $21.09          1
                High Waisted
              Bikini Bathing
              Suits K Black L
B08THLLD75                       1        $9.75           1
B08THQXC3X                       1        $11.59          1
B08TW6ZRY3                       1        $8.65           1
B08TW72MZZ                       1        $35.91          1
B08TW7L5QP                       1        $32.69          1
B08TW95F6N                       1        $16.08          1
B08TW9BW4V                       1        $15.89          1
B08TW9S1K5                       1        $16.34          1
B08TWKLB1C                       1        $18.93          1
B08V53ZHCW                       1        $11.96          1
B08V8VLQW7                       1        $14.73          1
B08V8ZM92W                       1        $13.99          1
B08V92JYXK                       1        $10.85          1
B08VD611L6                       1        $17.99          1
B08VDCM6RP                       1        $50.18          1
B08VDF3HJB                       1        $17.99          1
B08VDFTFDD                       1        $51.91          1
B08VDJHPQS                       1        $10.95          1
B08VDJMSRW                       1        $49.88          1
B08VDP9F8W                       1        $10.95          1
B08VDSWJK7                       1        $52.04          1
B08VF3FX5N                       1        $51.80          1
B08VHPSS2D                       1        $34.55          1
B08VMVD61M                       1        $23.65          1
B08VW7MS1N                       1        $7.41           1
B08VWPVGY4                       1        $13.11          1
B08VWQXQ1H                       1        $14.07          1
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                Lingerie for
             Women Floral Cami
              Top Pants Boho
                Summer Style
                Pajamas Sets
                 Satin Silk
B08VWRYH84                       1        $29.85          1
               Pajamas Women
                 Nightdress
              Lingerie Robes
                 Underwear
              Sleepwear Sexy
                  Black XL
                Lingerie for
             Women Floral Cami
              Top Pants Boho
                Summer Style
                Pajamas Sets
                 Satin Silk
B08VWV188G                       1        $26.47          1
               Pajamas Women
                 Nightdress
              Lingerie Robes
                 Underwear
              Sleepwear Sexy
                   Black L
B08VX13JSS                       1        $7.50           1
B08W1L8MCQ                       1        $24.76          1
B08W2B4FGK                       1        $24.55          1
B08W2FVL3L                       1        $25.37          1
B08W454T33                       1        $44.68          1
B08W45F7W9                       1        $27.78          1
B08W4D4BW6                       1        $41.96          1
B08W8Y3RS2                       1        $11.64          1
B08WC1RNBK                       1        $22.57          1
B08WC9MZC6                       1        $17.29          1
B08WCJ4TB4                       1        $20.29          1
B08WL1BNSG                       1        $12.18          1
B08WL1GBDL                       1        $12.31          1
B08WYRK5ZG                       1        $37.09          1
              Beauty Clothing
               Shoes Jewelry
              Supplies Womens
             Holiday Irregular
B08X1B2P5S                       1        $13.78          1
                Dress Ladies
                Summer Beach
             Sleeveless Party
              Dress Yellow XL
B08X1JZDG1                       1        $6.75           1
B08X1M38NX                       1        $7.25           1
B08X2D1C8D                       1        $14.11          1
B08X4BGWC6                       1        $8.90           1
B08X4R5C2C                       1        $10.61          1
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B08X6JDZC9                       1        $8.44           1
B08X6YZ5TL                       1        $14.13          1
B08XH69YWT                       2        $18.86          1
B08XK2M41W                       1        $21.46          1
B08XLNDRY8                       1        $6.35           1
B08XLQ62MH                       1        $11.69          1
B08XLTBXDC                       1        $16.84          1
B08XLTM96X                       1        $27.22          1
B08XM4PVCV                       1        $15.44          1
B08XM6BDYR                       1        $22.94          1
B08XMGH2HT                       1        $22.52          1
B08XML8JVJ                       1        $16.46          1
B08XMNBWW2                       1        $17.68          1
B08XMR1LF9                       1        $19.45          1
B08XN5VYT5                       1        $9.62           1
B08XN7FB7P                       1        $8.65           1
B08XN9ML6D                       1        $10.74          1
B08XNMHTXZ                       1        $10.61          1
B08XNMTX5R                       1        $7.75           1
B08XPYSJ2D                       1        $28.05          1
B08XQFN6Z8                       1        $16.85          1
B08XQMJY67                       1        $13.67          1
B08XQNP6SG                       2        $19.42          1
B08XVT9PSK                       1        $9.99           1
B08XVT9PSK                       1        $9.99           1
B08XXXY1W4                       1        $47.34          1
B08XY1PCP6                       1        $47.34          1
B08XY1SR7Z                       1        $46.50          1
B08XY2C6H8                       1        $47.20          1
               Swimsuits for
              Women Women’s
             Bikini Sexy Women
B08XY2DJRY      Bikini Print     1        $47.34          1
             Bandage Two-Piece
             Swimwear Swimsuit
             Beachwear Set 002
B08XY2Y249                       1        $46.50          1
B08Y14MZT6                       1        $44.03          1
B08Y18LR51                       1        $47.56          1
B08Y5P697Z                       1        $47.00          1
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                Jewelry For
                Women,Korean
             version of small
              fresh handmade
             drip glaze green
             leaf branch ring
B08YCYBHY2   fashion,Adjustabl   2        $1.94           1
               e Tree Branch
               Ring Graceful
               Gift For Lady
                   Special
             Ring(multicolor,A
                  S SHOWN)
                Womens Tops
             Shorts for Women
              Women's Tie-Dye
             Print Long Sleeve
                O-Collar Off
B08YCYBX3B   Shoulder Pullover   1        $27.03          1
              Leisure Tops +
             Shorts Set Lounge
              Sets Streetwear
              Gifts for Women
              (L, Multicolor)
B08YD1JHW7                       1        $44.95          1
B08YD5P14K                       1        $0.97           1
                Jewelry For
               Women,Natural
               Stone Crystal
               Glass Hexagon
              Pillar Pendant
                  Necklace
B08YD7QLXS      White,Women      1        $0.96           1
                 Multilayer
             Irregular Crystal
               Opals Pendant
              Necklace Choker
              Chain(White,AS
                   SHOWN)
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                Jewelry For
               Women,Natural
               Stone Crystal
               Glass Hexagon
              Pillar Pendant
                  Necklace
B08YD8V96Z      Black,Women      1        $0.96           1
                 Multilayer
             Irregular Crystal
               Opals Pendant
              Necklace Choker
              Chain(Black,AS
                   SHOWN)
B08YD97BJ6                       1        $0.94           1
B08YD9FCP2                       1        $0.96           1
                Jewelry For
              Women,Mushroom
                star flower
             vintage ring No.
             8,Creative Retro
B08YD9W4PN                       1        $0.97           1
              Ring M-ushroom
                Star Flower
             Leaves Mysterious
                 Fashion(AS
                  show,8)
B08YDCH7CW                       1        $46.17          1
B08YDPWR8Y                       1        $1.00           1
B08YDPZL4D                       1        $2.11           1
B08YDRMCGX                       1        $46.17          1
B08YDSZG3G                       1        $0.97           1
B08YDWSYKB                       1        $0.95           1
B08YDYYXD2                       1        $0.90           1
B08YFBSNL3                       1        $28.36          1
B08YN9CXDL                       1        $11.84          1
             Rings Jewelry for
             Women,15PCS Joint
              Ring Set, Cool
              Rings 15pcs/Set
              Women Bohemian
B08YNQZLXK                       1        $6.88           1
              Vintage Silver
             Stack Rings Above
             Knuckle Rings Set
                  Jewelry
             Accessories Gift
B08YR2BSH5                       1        $18.22          1
B08YRFTHM4                       1        $5.99           1
B08YRSYS1J                       1        $15.99          1
B08YV219G3                       1        $21.43          1
B08YVBF3SJ                       1        $21.53          1
B08YVBX4ZS                       1        $24.99          1
B08YVCCM3W                       1        $21.34          1
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B08YVKBZBG                       1        $8.47           1
B08YVKKM2V                       1        $21.54          1
B08YVQ1XWL                       1        $13.19          1
B08YVT7PWG                       1        $8.47           1
B08YVWP485                       1        $21.49          1
B08YVXVT49                       1        $21.53          1
B08YVY6MRF                       1        $11.99          1
              Stuffed Gnomes
             Plushie Ornaments
              - Collectiable
              Figurines Table
              Gnomes Decor -
                Mother's Day
B08YYCDC1L                       1        $10.69          1
             Plush Doll,Spring
                 Doll Home
                 Decoration
               Ornaments for
              Garden Outdoor
                 Decor (B)
B08YYRLL9X                       1        $11.95          1
B08Z2XT1KX                       1        $39.92          1
B08Z32NGG2                       1        $41.99          1
             Womens Tops Tops
              for Women 2021
               Summer Shirts
              Casual Loose T
              Shirt Tops and
             Blouses Plus Size
B08Z371NTC                       1        $9.90           1
                Women Solid
              Floral Lace O-
              Neck Asymmetric
               Three Quarter
             Tops BlouseBlack
                    XXXL
B08Z372X85                       1        $38.99          1
B08Z3G9VPC                       1        $42.75          1
B08Z3GQMGS                       1        $39.93          1
B08Z3HYPH7                       1        $9.45           1
B08Z3K8F22                       1        $9.90           1
B08Z3N8JFX                       1        $49.36          1
B08Z3XBKR7                       1        $21.76          1
B08Z3YQ8YL                       1        $47.91          1
B08Z6WQX4J                       1        $45.94          1
B08Z74GVFX                       1        $43.99          1
B08Z76JVL5                       1        $44.85          1
B08Z7C1Q9G                       1        $45.80          1
B08Z7CFWPS                       1        $43.99          1
B08Z7F7HGZ                       1        $44.99          1
B08Z7FXWNG                       1        $45.94          1
B08Z7LXJLC                       1        $46.27          1
B08Z7SWF62                       1        $44.02          1
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B08Z7Z8XTB                       1        $45.01          1
B08Z82JMBS                       1        $41.07          1
B08Z84BW9B                       2        $73.98          1
B08Z85B4QL                       1        $43.76          1
B08ZC8PGC2                       1        $47.99          1
             Fashion Women Off
                The Shoulder
              Floral Printed
             Halter Strapless
              Ruffle Bandage
B08ZD9GZ5Q                       1        $38.79          1
             Casual Dress Boho
                Dress Summer
               Dresses Flowy
              Dresses Summer
                Dress 012 XL
B08ZDB7J2W                       1        $26.48          1
B08ZDBDPWJ                       1        $4.22           1
B08ZDBDPWQ                       1        $31.55          1
B08ZDBV4YP                       1        $26.48          1
B08ZDCHJJF                       1        $3.16           1
              Women's Casual
              Gradient U-Neck
              Sleeveless Plus
                Size Summer
              Spaghetti Strap
B08ZDCVPYB     Dress Tie Dye     1        $12.86          1
              Maxi Dress for
               Women, Summer
             Casual Sleeveless
             Long Dresses 015
                    XXL
B08ZDD7QR9                       1        $3.16           1
B08ZDD8N8K                       1        $63.62          1
B08ZDDHD33                       1        $30.60          1
B08ZDDKQCW                       1        $37.99          1
B08ZDDNQSK                       1        $42.00          1
B08ZDDP62H                       1        $49.18          1
B08ZDG13XJ                       1        $49.18          1
B08ZDG9SZV                       1        $42.84          1
B08ZDGVC4K                       1        $9.70           1
B08ZDHD8R2                       1        $18.73          1
B08ZDHNTRB                       1        $46.99          1
B08ZHPGLNC                       2        $6.32           1
B08ZK4Z5G3                       1        $53.99          1
B08ZK6DP4B                       1        $50.02          1
B0911RX9K5                       1        $18.43          1
B0911XC378                       1        $18.26          1
B09128GS2P                       1        $16.99          1
B0912XHKT4                       1        $20.25          1
B09133M187                       1        $18.26          1
B0915T1XF1                       1        $17.35          1
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B0915TS47X                       1        $22.52          1
B0919SCYX8                       1        $5.42           1
              2pc Yoga Shorts
             Sports Gym Ruched
B091BLH6CD      Butt Lifting     1        $29.38          1
              Workout Running
                Hot Leggings
              2pc Yoga Shorts
             Sports Gym Ruched
B091BN178W      Butt Lifting     1        $29.60          1
              Workout Running
                Hot Leggings
              2pc Yoga Shorts
             Sports Gym Ruched
B091BPJ51S      Butt Lifting     1        $29.38          1
              Workout Running
                Hot Leggings
              2pc Yoga Shorts
             Sports Gym Ruched
B091BPX2PW      Butt Lifting     1        $28.90          1
              Workout Running
                Hot Leggings
              2pc Yoga Shorts
             Sports Gym Ruched
B091BRMK8Z      Butt Lifting     1        $28.90          1
              Workout Running
                Hot Leggings
                Summer Love
             Prints Loose Tops
               Floral Blouse
B091G9YGQ9         Summer        1        $6.99           1
                Blouses for
             Women Summer Tops
                   Blue S
B091GTVXZ2                       1        $24.19          1
               YIISU Women's
              Dresses Summer
               Wrap Bohemian
B091GWQQL6    Floral Printed     1        $24.40          1
             Ruffle Hem Short
             Sleeve Beach Mini
                   Dress
B091HLG5FR                       1        $21.36          1
B091HMCPFD                       1        $21.36          1
             Casual Sleeveless
                Blouse Boho
               Clothing Sexy
B091SS57VB                       1        $6.99           1
              Summer Blouses
             Womens Tops Match
              Sandals Wine M
B091TC7SRT                       1        $5.32           1
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             6 Pairs Reusable
             Eyeliner Stickers
              Reusable Eyelid
              Makeup Stickers
              Instant Outline
B091TDC2S1       Sparkling       1        $7.16           1
                Eyeliner Eye
             Shadow Easy Quick
              Application,No
               Smudge Design
                   (003)
B091XMXDSR                       1        $49.57          1
B091XMXDSR                       1        $45.03          1
B091YRRLD1                       1        $38.15          1
              Women's V-Neck
               Flared Sleeve
                 Loose Plus
              Dresses Floral
B0921MX77S                       1        $32.99          1
                Dress Spring
              Dress for Women
              2021 Casual Sun
             Dresses Yellow XL
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922MWDHB     Swimsuit 2021     1        $49.29          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   012 S
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922Q2WFD     Swimsuit 2021     1        $51.70          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   006 XL
B0922QBBRM                       1        $50.18          1
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922R6QMK     Swimsuit 2021     1        $50.99          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   005 S
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              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RD3G3     Swimsuit 2021     1        $51.68          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   007 L
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RGQD6     Swimsuit 2021     1        $50.29          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   001 M
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RNDVM     Swimsuit 2021     1        $52.99          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   013 XL
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RP8Z1     Swimsuit 2021     1        $50.29          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   014 M
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RPJDS     Swimsuit 2021     1        $50.54          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   010 L
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              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RTK88     Swimsuit 2021     1        $52.31          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   004 M
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RWBRR     Swimsuit 2021     1        $51.30          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   007 M
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RWPKJ     Swimsuit 2021     1        $49.58          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   018 S
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922RZWJ6     Swimsuit 2021     1        $50.18          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   012 L
              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922S8KNL     Swimsuit 2021     1        $52.39          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                   004 L
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              YIISU Two Piece
               Swimsuits for
                 Women High
              Waisted Bikini
B0922T72X8     Swimsuit 2021     1        $50.38          1
             Bathing Suits for
                Summer Beach
             Swimwear Bikinis
                    016 L
               Tank Tops for
              Women Crop Tops
              Wide Leg Pants
             Set Jumpsuits Two
               Piece Outfits
B092618G11                       1        $4.36           1
              Sleeveless Cute
                Tops+Women's
                Pants Summer
             Outfits for Women
                  Orange S
              Sexy Sleeveless
                Beach Dress
                Sleeve Solid
             Print Mini Dress
B0928734R4                       1        $4.30           1
               Womens Summer
               Floral Wrap V
                Neck Casual
             Dresses Black XXL
               Wedding Guest
                Dress Womens
              Summer Dresses
B0928B2PCG   Sun Dresses Women   1        $44.78          1
             Beach Dress Boho
              Dress Sundress
                Sky Blue XL
                  Women's
             Sleeveless Loose
               Plain Dresses
               Casual Short
B092J18NC9       Dress with      1        $13.99          1
                Pockets Sun
               Dresses Women
               Casual Summer
                  Yellow M
             Womens Sleeveless
             Floral Loose Fit
               Ruffle Summer
B092VGL4T7   Beach Mini Dress    1        $37.99          1
             White Maxi Dress
              Sundress Women
                   006 XL
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                Deep V-Neck
                Casual Dress
              Summer Backless
                   Floral
             Print/Solid Split
B092VHZZF8                       1        $16.26          1
              Maxi Dress for
             Beach Party Midi
             Dress Boho Dress
              Womens Dresses
                   Wine L
B092VJ64SR                       1        $15.09          1
              YIISU Women's
             Sleeveless Loose
              Plain Dresses
               Casual Short
B0931SS4SP      Dress with       1        $54.96          1
              Pockets Floral
               Dress Womens
              Summer Dresses
                Flower XXL
B093BP23GY                       1        $40.71          1
             Halter Dress Sun
              Dresses Vintage
             Dresses for Women
B093GSSWKK                       1        $11.62          1
              Boho Maxi Dress
             Maxi Dresses for
               Women Red XXL
                YIISU Formal
                 Dresses for
               Wedding Guest
               Summer Dresses
B093GT2PW7     for Women Plus    1        $10.99          1
             Size Dresses for
                 Women Cute
              Dresses Elegant
                  Green XXL
              Long Maxi Dress
                Women's Plus
               Dresses Flowy
B093GXK9FZ                       1        $11.90          1
              Dress for Women
             Womens Sundresses
                   Red XXXL
B093Q2611G                       1        $47.98          1
              Sundress Women
             Off The Shoulder
B093Q2G3GY   Dress Flowy Dress   1        $44.99          1
              for Women Dark
                   Blue M
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              Dresses Swing
             Elastic Sundress
               with Pockets
B093Q3Q2JC    Womens Casual     1         $46.75          1
             Dresses Women's
               Plus Dresses
                 Black XL
B093Q413QW                      1         $46.75          1
B094CYC1YG                      1         $18.88          1
B094CYM7RV                      1         $26.88          1
